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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.:

  LENA ZERBINOPOULOS,

         Plaintiff,

  v.

  AETNA LIFE INSURANCE COMPANY,

        Defendant.
  ____________________________________)

                                            COMPLAINT

          The Plaintiff, LENA ZERBINOPOULOS (“ZERBINOPOULOS”), by and through her

  undersigned counsel, hereby sues AETNA LIFE INSURANCE COMPANY (“AETNA”), and

  alleges as follows:

                              JURISDICTION, VENUE AND PARTIES

  1.    This action arises under ERISA or the Employee Retirement Income Security Act of 1974,

        29 USC §§ 1001 et seq., and more particularly 29 USC §1132 (a) (1) (B) thereof. This

        Court has jurisdiction under 29 USC § 1132 (f), which grants to the federal court

        concurrent jurisdiction to determine claims under 29 USC §§ 1001 et seq.

        ZERBINOPOULOS brings this action to recover long-term disability (“LTD”) benefits

        due to her under the terms of an employee welfare benefit plan, to enforce her rights under

        the plan and to clarify her rights to benefits under the terms of the plan.

  2.    ZERBINOPOULOS was at all times relevant a citizen of the United States of America and

        in all respects sui juris.

  3.    AETNA is a corporation with its principal place of business in the State of Connecticut

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        that is authorized to transact and is transacting business in the Southern District of Florida.

  4.    Venue is proper in this District under 29 USC 1132 (e)(2), in that the defendant, AETNA,

        is authorized to and is doing business within the Southern District of Florida and “may be

        found” in the Southern District of Florida

                                    FACTUAL ALLEGATIONS

  5.    This case arises out of the purposeful, unwarranted and unlawful denial of disability

        benefits to ZERBINOPOULOS.

  6.    ZERBINOPOULOS at all times material was an employee of C & S Wholesale Grocers,

        Inc.

  7.    ZERBINOPOULOS was at all times material a plan participant under the C & S

        Wholesale Grocers Corporation’s Group Long Term Disability Insurance Policy, Policy

        Number GP-479175 (the “LTD Policy”), which is a Long-Term Disability Insurance

        Policy insured and underwritten by AETNA, of which C&S Companies. is the Group

        Policyholder. It is pursuant to Policy Number GP-479175 to which ZERBINOPOULOS is

        entitled to benefits.   A copy of the LTD Policy that was provided by AETNA to

        ZERBINOPOULOS has been attached hereto as Exhibit “A”.

  8.    The LTD Policy is an employee welfare benefit plan within the meaning of Title 29, USC

        § 1002 and regulated by ERISA.

  9.    AETNA is the insurer of benefits under the LTD Policy.

  10.   Pursuant to the terms and conditions of the LTD Policy, ZERBINOPOULOS is entitled to

        LTD benefits for the duration of her disability, or until age 67, so long as she remains

        disabled as required under the terms of the LTD Policy.

  11.   According to the LTD Policy, disability is defined as follows:

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  12.   At all relevant times, ZERBINOPOULOS complied with all conditions precedent and

        exhausted all required administrative remedies under the LTD Policy.

  13.   Since approximately January 27, 2013, ZERBINOPOULOS has been disabled under the

        terms of the LTD Policy.

  14.   Since on or about January 27, 2013, ZERBINOPOULOS could not perform the material

        duties of her own occupation solely because of an illness, injury or disabling pregnancy-

        related condition, and her work earnings were 80% or less of her adjusted predisability

        earnings.

  15.   Since on or about January 27, 2013, ZERBINOPOULOS has been unable to work at any

        reasonable occupation solely because of an illness, injury or disabling pregnancy-related

        condition.

  16.   At all relevant times, ZERBINOPOULOS has been under the regular care of a doctor.

  17.   At all relevant times, ZERBINOPOULOS was a Covered Person under the LTD Policy.

  18.   Shortly after becoming disabled, ZERBINOPOULOS made a claim to AETNA under the

        LTD Policy for disability benefits and benefits were eventually paid for the period of

        January 27, 2013 through June 9, 2023.

  19.   By letter dated June 9, 2023, ZERBINOPOULOS’s continued claim for LTD benefits was

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        denied.

  20.   ZERBINOPOULOS timely and properly submitted an appeal of the June 9, 2023 denial

        letter.

  21.   By letter dated August 23, 2023, the previous decision to deny ZERBINOPOULOS’s

        claim for continued LTD benefits was affirmed and ZERBINOPOULOS was advised that

        she had exhausted the available administrative remedies.

  22.   From June 9, 2023 to the present date, ZERBINOPOULOS has not received benefits owed

        to her under the LTD Policy despite ZERBINOPOULOS’s right to these benefits.

  23.   AETNA has refused to pay ZERBINOPOULOS’s LTD benefits beyond June 9, 2023.

  24.   At all relevant times, AETNA was the payer of benefits.

  25.   At all relevant times, AETNA was the “Insurance Company” identified throughout the

        LTD Policy.

  26.   At all relevant times, ZERBINOPOULOS has been and remains Disabled and entitled to

        LTD benefits from AETNA under the terms of the LTD Policy.

  27.   ZERBINOPOULOS has been forced to retain the services of the undersigned counsel in

        order to prosecute this action and is obligated to pay a reasonable attorney’s fee.

    CLAIM FOR BENEFITS, ENFORCEMENT AND CLARIFICATION OF RIGHTS,
  PREJUDGMENT AND POSTJUDGMENT INTEREST AND ATTORNEYS’ FEES AND
                COSTS PURSUANT TO 29U.S.C. § 1132(a)(1)(B)

  28.   ZERBINOPOULOS incorporates Paragraphs 1 through 27 as if fully set forth herein.

  29.   This is a claim to recover benefits, enforce rights, and clarify rights to future benefits

        under 29 U.S.C. §1132(a)(1)(B).

  30.   Pursuant to 29 U.S.C. §1132(a)(1)(B), ZERBINOPOULOS, as a participant under the

        LTD Policy, is entitled to sue for judicial determination and enforcement of benefits.

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  31.   ZERBINOPOULOS has no other adequate remedy at law to address the injuries she has

        suffered and will continue to suffer as a result of AETNA’s failure to pay her continued

        disability benefits.

  32.   ZERBINOPOULOS has exhausted all administrative remedies under the LTD Policy.

  33.   Defendant breached the LTD Policy and violated ERISA in the following respects:

                         (a)     Failing   to    pay    LTD     benefit    payments      to

         ZERBINOPOULOS at a time when AETNA knew, or should have known, that

         ZERBINOPOULOS was entitled to those benefits under the terms of the LTD

         Policy, as ZERBINOPOULOS was disabled and unable to work and therefore

         entitled to benefits.

                         (b)     Failing to provide a prompt and reasonable explanation of

         the basis relied upon under the terms of the LTD Policy documents, in relation to

         the applicable facts and LTD Policy provisions, for the termination of

         ZERBINOPOULOS’s claim for LTD benefits.

                         (c)     After ZERBINOPOULOS’s claim was terminated in whole

         or in part, AETNA failed to adequately describe to ZERBINOPOULOS any

         additional material or information necessary for ZERBINOPOULOS to perfect

         her claim along with an explanation of why such material is or was necessary.

                         (d)     AETNA failed to properly and adequately investigate the

         merits of ZERBINOPOULOS’s disability claim and failed to provide a full and

         fair review of ZERBINOPOULOS’s claim.

  34.   ZERBINOPOULOS believes and thereon alleges that AETNA wrongfully terminated her

        claim for disability benefits under the LTD Policy by other acts or omissions of which

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        ZERBINOPOULOS is presently unaware, but which may be discovered in this future

        litigation and which ZERBINOPOULOS will immediately make AETNA aware of once

        said acts or omissions are discovered by ZERBINOPOULOS.

  35.   Following the termination of benefits under the LTD Policy, ZERBINOPOULOS

        exhausted all administrative remedies required under ERISA, and ZERBINOPOULOS has

        performed all duties and obligations on her part to be performed under the LTD Policy.

  36.   As a proximate result of the aforementioned wrongful conduct of AETNA,

        ZERBINOPOULOS has damages for loss of disability benefits in a total sum to be shown

        at the time of trial.

  37.   As a further direct and proximate result of this improper determination regarding

        ZERBINOPOULOS’s claim for benefits, ZERBINOPOULOS, in pursuing this action, has

        been required to incur attorneys’ costs and fees. Pursuant to 29 U.S.C. § 1132(g)(1),

        ZERBINOPOULOS is entitled to have such fees and costs paid by AETNA.

  38.   The wrongful conduct of AETNA has created uncertainty where none should exist. As

        such, ZERBINOPOULOS is entitled to enforce her rights under the terms of the LTD

        Policy and to clarify her right to future benefits under the terms of the LTD Policy.

                                     REQUEST FOR RELIEF

         WHEREFORE, LENA ZERBINOPOULOS prays for relief against AETNA LIFE

  INSURANCE COMPANY as follows:

  1.     Payment of disability benefits due Plaintiff;

  2.     An order declaring that Plaintiff is entitled to immediate reinstatement to the LTD Policy,

         with all ancillary benefits to which she is entitled by virtue of her disability, and that



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       benefits are to continue to be paid under the LTD Policy for so long as Plaintiff remains

       disabled under the terms of the LTD Policy;

  3.   In the alternative to the relief sought in paragraphs 1 and 2, an order remanding Plaintiff’s

       claim to the claims administrator to the extent any new facts or submissions are to be

       considered;

  4.   Pursuant to 29 U.S.C. § 1132(g), payment of all costs and attorneys’ fees incurred in

       pursuing this action;

  5.   Payment of pre-judgment and post-judgment interest as allowed for under ERISA; and

  6.   Such other and further relief as this Court deems just and proper.

       DATED: January 16, 2024

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